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% » Case: 1:10-cv-07917 Document #: 1 Filed: 12/13/10 Page 1 of 63 PagelD #:1 tA
ee
UNITED STATES DISTRICT COURT R E C Ee \V E D
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION age 13 ie
wee, \ all,
Danielle Hoit ) MICHAEL w. 00H cOURL
)
}
)
(Name of the plaintiff or plaintiffs) ) 40CV7917
) JUDGE MANNING
Vv. ) MAG. JUDGE VALDEZ
)
Loyola University of Chicago )
)
)
)
)
(Name of the defendant or defendants) )

COMPLAINT OF EMPLOYMENT DISCRIMINATION

1. This is an action for employment discrimination.

 

 

 

2. The plaintiffis Danielle Holt of the
county of Lake in the state of IN
3. The defendant is Loyola University of Chicago , whose

 

street address is 820 N Michigan Avenue

(city) Chicago (county) Cook (state) IL (ZIP)60611

(Defendant’s telephone number) (312 _)— 915-6195

 

4. The plaintiff sought employment or was employed by the defendant at (street address)

820 N Michigan Avenue (city) Chicago

 

(county) Cook (state) IL. (ZIP code)60611

 

 
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5. The plaintiff (check one box]
@L] was denied employment by the defendant.

oL] was hired and is still employed by the defendant.

ox] was employed but is no longer employed by the defendant.

6. The defendant discriminated against the plaintiff on or about, or beginning on or about,
(month) June , (day) 6th , (year) 2008

 

7d heose par ht 7d or 7.2, do not complete both.
(a) The defendant is not a federal governmental agency, and the plaintiff [check

one box] CJ has ral filed a charge or charges against the defendant
has
asserting the acts of discrimination indicated in this complaint with any of the following
government agencies:
(i) [x] the United States Equal Employment Opportunity Commission, on or about

(month) Apnil (day)2ist (year) 2009

(ii) [J the Illinois Department of Human Rights, on or about
(month) ss (day) ~s(yeear)
(b) If charges were filed with an agency indicated above, a copy of the charge is

attached. K] ves. [L] No, but plaintiff wil file a copy of the charge within 14 days.

It is the policy of both the Equal Employment Opportunity Commission and the Hlinois
Department of Human Rights to cross-file with the other agency all charges received. The
plaintiff has no reason to believe that this policy was not followed in this case.

7.2 The defendant is a federal governmental agency, and
(a) the plaintiff previously filed a Complaint of Employment Discrimination with the

defendant asserting the acts of discrimination indicated in this court complaint.

 

 
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LJ Yes (month) (day) (year)

 

LJ No, did not file Complaint of Employment Discrimination

(>) The plaintiff received a Final Agency Decision on (month)
(day) (year)
(c) Attached is a copy of the

(i) Complaint of Employment Discrimination,

CJ YES C] NO, but a copy will be filed within 14 days.
(ii) Final Agency Decision

CJ YES LJ NO, but a copy will be filed within 14 days.

8. (Complete paragraph 8 only if defendant is not a federal governmental agency.)
aL] the United States Equal Employment Opportunity Commission has not issued
a Notice of Right to Sue.

(oe) X] the United States Equal Employment Opportunity Commission has issued a

Notice of Right to Sue, which was received by the plaintiff on
(month)September (day) 46th (year) 2010 a copy of which
Notice is attached to this complaint.

9. The defendant discriminated against the plaintiff because of the plaintiff's [check only
those that apply}:

aL] Age (Age Discrimination Employment Act).

(b)L_] Color (Title VI of the Civil Rights Act of 1964 and 42 U.S.C. §1981).

 

 
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@L] Disability (Americans with Disabilities Act or Rehabilitation Act)

@L] National Origin (Title VII of the Civil Rights Act of 1964 and 42 U.S.C. §1981).
eb] Race (Title VII of the Civil Rights Act of 1964 and 42 U.S.C. §1981).

(LJ Religion (Title VI of the Civil Rights Act of 1964)

(@L_] sex (Title VH of the Civil Rights Act of 1964)

10. ‘If the defendant is a state, county, municipal (city, town or village) or other local
governmental agency, plaintiff further alleges discrimination on the basis of race, color,
or national origin (42 U.S.C. § 1983).

11. —_ Jurisdiction over the statutory violation alleged is conferred as follows: for Title VI
claims by 28 U.S.C.§1331, 28 U.S.C.§1343(a)(3), and 42 U.S.C.§2000e-5(f)(3); for
42 U.S.C.§1981 and §1983 by 42 U.S.C.§1988; for the A.D.E.A. by 42 U.S.C.§12117;
for the Rehabilitation Act, 29 U.S.C. § 791.

12. The defendant [check onty those that apply)
(a)L_] failed to hire the plaintiff
(by {x ] terminated the plaintiff's employment.

oL] failed to promote the plaintiff.

@L_] failed to reasonably accommodate the plaintiff's religion.
@L] failed to reasonably accommodate the plaintiff's disabilities.
[x] failed to stop harassment;

(PSI retaliated against the plaintiff because the plaintiff did something to assert
rights protected by the laws identified in paragraphs 9 and 10 above;

chyL_] other (specify):

 

 

 

 
 

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13. The facts supporting the plaintiff's claim of discrimination are as follows:

See 2 in Addendum

 

 

 

 

 

 

14. [AGE DISCRIMINATION ONLY] Defendant knowingly, intentionally, and willfully
discriminated against the plaintiff.

15. The plaintiff demands that the case be tried byajury.L_] ves [K] No

16. | THEREFORE, the plaintiff asks that the court grant the following relief to the plaintiff
[check only those that apply}

@kx]
ox]
ol]
@L_]
@L]
ok]

Direct the defendant to hire the plaintiff.

Direct the defendant to re-employ the plaintiff.
Direct the defendant to promote the plaintiff.
Direct the defendant to reasonably accommodate the plaintiff s religion.

Direct the defendant to reasonably accommodate the plaintiff's disabilities.

Direct the defendant to (specify): There is 2 new trending amongst higher educational

 

institutions. When applying for jobs on University web sites, in order to be able to submit the application, you have

5

 
 

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fo agree to allow former employers to disclose any and ali information about you and your history with them. | have
been unemployed for almost two years now. |] am unaware of what Loyoia is saying to other institutions of hiring
agencies when they contact Loyola to Inquira about me. | am in need of a job and would like for Loyola not to say or

imply things that might pose a negative reffection about me to other prospective hiring angencies.
ZT would not sant ewig oe my ease. on the,
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kx] If available, grant the plaintiff appropriate injunctive relief, lost wages,
liquidated/double damages, front pay, compensatory damages, punitive damages,
prejudgment interest, post-judgment interest, and costs, including reasonable
attorney fees and expert witness fees.

(h) [x] Grant such other relief as the Court may find appropriate.

(Plaintiff's signature)
Beith: Ho lf
(Plaintiff's name)
Danielle Holt
(Piaintiff’s street address)

3838 Carey Street

 

(City) East Chicago (State)iN (ZIP) 46312

(Plaintiff's telephone number) (219 ) — 678-9495

 

Date: December 12, 2010

 
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Addendum 1/2

Title VII of the Civil Rights Act of 1964. For the purpose of consistency this document is
being created in third person by the plantiff. The plantiff was dismissed with a charge of
plagiarism on a rough draft that was submitted via email. In June of 2008, the plantiff
responded to an evaluation and given the supervisors response to her comments the plantiff
believes her supervisor was not pleased. Between June and December the plaintiff, her
supervisor and HR exchanged several communications regarding instances that according
to the plantiff appeared to primarily be found or judged by HR in favor of the supervisor. In
December the plantiff filed a formal complaint with HR against her supervisor, this
complaint was dismissed by HR. With reference to the termination the plantiff states her
supervisor holds a PhD in english and has worked with technology for numerous years, this
implies that the supervisor was aware of the meanings of common knowledge and a rough
draft, in addition to numerous aspects regarding technology. The plantiff notes, the name of
the department is Learning Technologies and Assessment.There were times when the
plaintiff states she was afraid of her supervisor and also times when she believed it was the
intention of the supervisor to provoke the plaintiff into negatively reacting to comments.

The plaintiff is unclear as to why HR overlooked her reportings of instances in favor of the
supervisor. The plaintiff presented ample evidence to the HR department regarding the
going on’s between the supervisor and herself. The defendant's termination proceedings
regarding the plaintiff's termination were very odd, e.g. email falsification and plagiarism
were discussed prior to termination, HR insisted on the possibility of providing the plaintiff
information obtained from the IT department, the plaintiff countered with information
obtained from the email service provider-the information stated “emails can be changed
and altered from a workstation” ...it was a known fact that the plaintiff's supervisor was at
the defendan'ts desk. The response from HR was to acknlowledge that they were aware
that such an instance could happen and questioned the plaintiff as to if the plantiff really
believed the supervisor would do something like that. The plantiff responded by saying yes.

On February 23, 2009, the plaintiff was terminated with a charge of plagiarism of common
knowledge information that was submitted as a rough draft via email. Following a written
appeal of the termination charge to Human Resources, the defendant disregarded evidence
provided to them illustrating that the document created by the plaintiff was common
knowledge and instead re-introduced a previous alleged concerned regarding the
falsification of an email which had been discussed in detail prior to the generation of the
termination letter, yet not listed as a cause for termination on the termination letter itself.
Within and throughout a recorded over the phone hearing with IDES to establish
unemployment benefits for the plaintiff, the defendant continued to avoid addressing the
formal charge for dismissal in favor of highlighting the falsification of the email. IDES
ruled in favor of the plaintiff.

The plaintiff was treated differently than a non-black colleague: she was screamed and
cursed at and at times belittled in front of others; she was not given the same amount of
flexibility with reference to dress code, times of arrival at work, excused absences, attempts
were made to provoke me; she was given disciplinary action that was outside the normai

 
 

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1

Addendum 2/2

protocal; she was terminated via an unusual unfounded charge - plagiarism of common
knowledge information on a rough draft in an email; she was terminated within three
months of filing a harassment report against supervisor with human resources; IDES held a
hearing regarding the termination charge and found that the contents contained within the
draft in question was classified common knowledge; IDES ruled in favor of the plaintiff
and issued a judgement deeming “their record adequately sets forth evidence so that no
further evidentiary proceedings are necessary" and further states " the evidence presented
showed the plaintiff submitted to her supervisor a draft of a document that included
information that could be construed as common knowledge" (ABR-09-13617, 2010, pag. 2,
para. 4) The plantiff has not been offered her position back and has since been replaced by
anon-African American.

 
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ceniee OF - 60/023

 

CHARGE OF DISCRIMINATION Charge Presented To: Agency(ies) Charge No(s):

This tom ie attected ty the Privacy Act of 3974. See enclosed Privacy Act |] FEPA
, [x] EEoc 440-2009-04129

 

 

iHinois Department Of Human Rights and EEOC
. Stafe or local Agency, ¥ any

 

 

Name Gncicate Mr, Ms., Mre) . Home Phone (Inet. Area Code) Date of Bath
Ms. Danielle Holt (219) 78-9495 09-09-1989

 

 

 

Street Address City, State and ZIP Code

3838 Carey Street, East Chicago, IN 46312

~

 

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Gevenwnent Agency Thal 1 Beleve
Discriminated Against Me or Others. (if more than iwo, fst under PARTICULARS befow.)

 

 

 

 

Name No. Emplayses, Members § Phone No. (include Area Code)
LOYOLA UNIVERSITY 500 or More (312) 915-6500
Street Address Gity, State and ZIP Code

820 N Michigan Ave, Chicago, iL 60611

 

Name , / Mo. Employees, Members Phone Mo. (lacksde Area Code}

 

 

 

 

Street Address . City, State and ZIP Code
DISCRIMINATION BASED ON (Chock appropriate box(es).) DATE(S) DISCRIMINATION TOOK PLACE
Eariest Latest

[x] RACE . [| COLOR in SEX [| RELIGION [] NATIONAL ORIG 02-23-2009

RETALIATION . [__] ace [J ovsasusry [__] OTHER rspecty netow.

 

[ ] CONTINUING ACTICN |

 

 

THE PARTICULARS ARE {if additional paper Is needed, attach extra sheat{s))-
| began my employment with Respondent in or around December 2007. My most recent position was
Assessment Coordinator. During my employment | was subjected to harassment. 1 complained to Respondent
about racial harassment. On or about February 23, 2009, | was discharged.

| believe | was discriminated against because of race, Black, and retaliated against for engaging in protected
_ activity, in violation of Title VII of the Civil Rights Act of 1964, as amended.
RECEIVED EEoc

APR & } 2999
CHICAGO DISTRICT OFFICE

te

 

| want this charge filed with both the EEOC and the State or focal Agency, if any. | NOTARY — When necessary for Stale and Local Agency Requirements
Wal advise the agencies if i change my address or phone qumber and | wid cooperate
fully with them i the processing of my charge in accondance with their procedures. -

 

| swear or affirn that i have sead the above charge and that it is true to

 

 

| deciare under penatty of perjury that the above is true and correct. the best of my knowledge, information and belief.
SIGNATURE OF COMPLAINANT

 

 

Woh fa Uo gf}. | earmvmmnne

 
 

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EEOC Form 161 (1403 _ US. Equat EMPLOYMENT OPPORTUNITY COMMISSION

 

DISMISSAL AND NOTICE OF RIGHTS

 

 

To: Banielle Holt _ Fram: Chicago District Office

3838 Carey Street . 500 West Madison St

East Chicago, IN 46312 Suite 2000

: Chicago, IL 60661
CERTIFIED MAIL 7010 1670 0001 3271 7551 , *
. [-} nee On behatt-of person(s} aggrieved whose-identity is. ---- . Ba eee cette tee mee
CONFIDENTIAL (29 CFR §1601.7(a))
EEOC Charge No. EEOC Representative . Telephone No.
; Susie Goodwin,

440-2009-04129 investigator Support Asst (312) 353-4102

 

THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
The facis alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

Your atlegations did not involve a disabilily as defined by the Americans With Disabilities Act.
The Respondent empioys less than the required number of employees or is not otherwise covered by ihe statutes.
Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged

. discrimination to file your charge

The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude thal the
information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
the staiutes. No finding is made as to any other issues that might be construed as having been raised by this charge.

The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

OO &H#OUOOO

Other (bdefly state)

- NOTICE OF SUIT RIGHTS -
(See the additional information attached to this form.)

Title VH, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be ihe only notice of dismissal and of your right ta sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your. right to sue based on this charge will be
lost. {The time limit for filing suit based on a claim under state law may be different.)

 

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means thal backpay due for any violations that occurred more than 2 years (3 years)

before you file suit may not be collectible. -
| Ci Y ia

Enclosures(s) John P. Rowe, a “(Date tailed)
District Director

   

oe: LOYOLA UNIVERSITY

 

 
 

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LOYOLA

UMIVEGST? CHicaagd

oR = Human Resources
> zag = 6525 N. Sheridan Rd.,
= a § Chicago, IL 60626
eh by 5 (773) 508-3140

eng
February 25, 2009

Ms. Danielle Holt
3838 Carey Street
East Chicago, IN 57797

Dear Danieile:

This letter serves to confirm the decision made by your department to terminate your
employment as Coordinator, Leaning Technologies & Assessment — Office of the Provost, for
cause; namely, passing off other’s work as your own. The effective date of your termination is
Monday, February 23, 2009.

The following is provided for your information:

Final Pay
You will receive your final pay on Friday, March 6", which will include any unused
vacation hours. This will be paid out in the form of a direct deposit.

Health, Dental and Vision Insurance
Under the terms of Consolidated Omnibus Budget Reconciliation Act (COBRA), you

wil have the option of continuing your current benefit coverage for up to a period of
eighteen (18) months at the full unsubsidized premium rate plus a 2% administration fee.
Loyola’s outside administrator, Benefit Express, will mail information regarding your
COBRA options, which will include cost and payment instructions, to your home
address. Should you choose not to continue coverage through COBRA, the end date for
your current coverage will be February 28, 2009.

Life Insurance and AD&D coverage
You have been covered under a group term life insurance plan as part of your employee

benefits at Loyola, which ends on your termination date. The group life insurance plan is
portable and may be converted to an individual policy within 31 days from the date of
your termination.

Long Term Disability Insurance
Long term disability (LTD) coverage terminates as of your last day of employment. The

LTD plan does not have a conversion option.

Questions regarding any of the above insurance plans should be directed to the Benefits
Department, Human Resources: 312/915-7514.

 

 
 

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Loyola Retirement Plans
The University has contributed an amount equal to 8% of your bi-weekly salary to AIG

Retirement Valic, which is one of the Defined Contribution Retirement Plans (DCRPs).
There are options available to you in dealing with this money at the end of your
employment. For information on your account, please contact the Loyola Retirement
Center at 773/508-2770, or AIG Retirement Valic at 800/448-2542.

Other Services
Recognizing that the loss of a position can be painful, counseling services are available
through Perspectives, our Employee Assistance Program, to help you in managing the
stress resulting from this loss or from other personal concerns. Please contact
Perspectives at 800/456-6327.

Please feel free to contact me directly if you have any questions.

Regretfully,

 

Joan C. Stasiak

Manager, Human Resource
Loyola University Chicago
773-508-3143
jstasia@luc.edu

cc: (C. Scheidenhelm
Employment File

 
 

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March 2, 2009

Thomas Kelly

$20 N Michigan Ave
Chicago, IL 60611
(312) 915-7522 WTC
(312) 308-3140 LSC
(312) 915-6826 fax

Dear Mr. Kelly,

This letter is to request an appeal of the decision provided to me on February 26, 2009, which
stipulates the reason for termination as “passing someone else’s work off as my own”. On
Monday, February 16, 2009 Carol and I met for our weekly review at which time we briefly
discussed the Peer and Self Assessment project. It was communicated to me by Carol that she
would have a look at it and get back to me. It was my understanding that Carol, Sarah, Terry, and
myself were to work on this document together as a group and that the submitted document was
to be considered a working document -- not the final product.

When Carol requested I send her a soft copy, she made no mention of any irregularities in that
rough draft. Following her request, an e-mail was sent to Sarah, Terry, and myself indicating that
it would be our first project together as a group.

Carol’s reference to the screenshots in this e-mail seemed to imply she was unaware that I had
previously created screenshots. Because I was simultaneously working on several tasks, I opened
the rough draft file, edited the screenshots and copied the contents of the file from the bottom up.
A few of the URL’s I had visited in an effort to gain an understanding of how the draft document
would be best worded were listed at the top of the document. Those URL’s were inadvertently
left off. Had I been questioned regarding the URL’s at this juncture, I would have provided them.

My understanding regarding citing documentation produced by technology departments such as
ours with reference to the employment of “common knowledge” is that in the event
three/four/five or more sources can be found containing similar information, it is not considered
plagiarism. Additionally, it is my understanding that when a multimedia object such as an
articulate flash file is created for non-commercial purposes it falls under the guidelines of fair
use or educational use.

in the most recent incidence Carol refers to, it is my understanding that the purpose of a rough
draft is to identify what could potentially be considered as plagiarism in an effort to have it
corrected prior to the submission of a final document. In the first incidence Carol refers to, there
was a point where I experienced difficulty with the file. I requested permission from a member
of IT staff to view hers so I could troubleshoot mine, thus I inserted both files inside the same
blackboard shells our departments sometimes share in an effort to gain a better understanding of
the technology. The content of my file was my own original work and different from the other
party’s. | enjoy creating my own original work and I have never practiced plagiarism nor been

 

 
, , « Case: 1:10-cv-07917 Document #: 1 Filed: 12/13/10 Page 14 of 63 PagelD #:14

accused of plagiarism. The attached addendum files reflect the contents of my submitted rough
draft/soft copy and “common knowledge” examples from various URL’s. There was not nor is
any effort to plagiarize another’s work.

Thank you for your consideration.

Sincerely

Danielle Holt
Coordinator of Assessment, Office of the Provost
Loyola University Chicago

 

 
 

’ bo Case: 1:10-cv-07917 Document #: 1 Filed: 12/13/10 Page 15 of 63 PagelD #:15

Verification of similar documentation from other University sites (rough drafi‘soft copy submissions are highlighted in yellow)

 

 

 

  

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Preparing People to Lead Extriordinary Liws

 

  

LOYOLA Human Resources
2 = UNIVERSITY iter dower Carpus
= = CHICAGO 820 N. Michigan Avenuc
x oO Chicago, Cilinois 6061!
% s
he “ ‘Telephone: (312) 915-6175

f ‘
oF Fax: (312) 915-7612

F-Maijk hrewte@luecdu

Vebs Site: cH WE
March £9, 2009 Web Site: btips/wwwlucedu/hr

By e-mail and regular mail

Miss Danielle Holt
3838 Carey Street
East Chicago, IN
46312

Ms. Hole:

This letter is in response to your March 2, 2009 letter which requests an appeal of the
University’s decision to terminate your employment. | have reviewed the records and
documentation in your file regarding your termination. They readily detail the ongoing
challenges during your Loyola University Chicago employment.

Allow me to succinctly summarize my findings and decision about your last days of employment:

o On February 19, 2009, you were suspended pending termination because of
unprofessional conduct — namely presenting work product as your own that was copied
from another source(s). At this meeting you claimed that you could provide “proof” that
your supervisor, Ms. Scheidenhelm did not require you 19 cite sources of work product
developed in your office until the final version was submitted.

o On February 23, 2009 you submitted copies of November, 2008 e-mails documenting
that your supervisor, Ms. Scheidenhelm explicitly told you, “As long as the citings are in
the final draft that will be fine. It is not necessary to cite the rough draft.” Additionally
this e-mail explicitly references several websites and sources regarding another work
product you were developing — which you scem to offer as an example of how work
product you developed was sourced from other web sites or documents.

o Our investigation into the e-mails and into e-mail servers showed that your “proof” was
itself a fabrication and symptomatic of the same unprofessional conduct. The e-mail
copies you submitted to us were not the original e-mails sent and stored on c-mail
servers and that you in fact edited and added the reference about citing only in final draft
and the reference to additional websites.

Your appeal of the decision to terminate is denicd. This is an unfortunate end to your Loyola
University Chicago employment but it has been brought about by your own acts and emissions.

Sineerely Yours, .

i Cc
Clea /

Thomas M. Kelly |
Vice President for Human Resources

cc: Personnel File
 

Case: 1:10-cv-07917 Document #: 1 Filed: 12/13/10 Page 21 of 63 PagelD #:21

March 27, 2009

Thomas Kelly

820 N Michigan Ave
Chicago, IL 60611
(312) 915-7522 WTC
(312) 308-3140 LSC
(312) 915-6826 fax

Dear Mr. Keily, ©
In response to your tatest reply, my understanding of the events is as follows:

® The issue of the e-mail tampering was discussed with Joan Stasiak prior to the generation of the termination
letter being sent to me on February 26, 2009.The only reason given for nry termination was “passing off
someone else’s work as my own”. As of yet, [have not received your response referencing this issue.
Because it was not included within the official termination letter, | offered no explanations or references to
it in my letter of appeal. In multiple conversations and correspondences with Joan, I expressed to her that it
is possible to overwrite an email on a hard drive and a server. This information too is “Common
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true, but that it would have taken Carol time to perform the overwrite. At which time Joan inquired of me
if I really thought Carol would do something like that. My response to her was yes. Further, I articulated to
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acknowledged via e-mail that she was at my desk on multiple occasions’, which I also forwarded to Joan.
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have not received this report.

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from departmental meetings and “talked down to” verbally and. via email. These incidences first began,
shortly after I had responded to the comments on my first evaluation-in May of 2008. It is my recollection
that Carol was not pleased with my commentary. Following this event is when I first began to encounter
these incidences. In October, 2008 I filed a report of bullying with human resources. The office next door
to Carol and in front of my cubicle was occupied by Jessica Horowitz and then Caroline Kappas. I am
certain that exchanges of communications were overheard in addition to being observed, including the
difference in which she treated me as opposed to her other subordinates. This too was reported to Human
Resources.

* It is my understanding that Loyola was going through a process of eliminating positions and reducing
budgets. Carol made a comment of being frustrated with Loyola politics shortly before filing this
recommendation for termination in front of several office floor employees. This information was also
communicated to Joan by me prior to the generation of the termination letter. Had I been laid off due to
budgetary constraints or not provided with a reason for the dismissal, I would be inclined to be less
confused by the decision to terminate.

I respectfully request your reconsideration of this matter.

Sincerely

Bea te

Danielle Holt

 
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1. Using the Novell script to copy and overvrite files.

 

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3. Known email issues in Groupwise.
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Case: 1:10-cv-07917 Document #: 1 Filed: 12/13/10 Page 23 of 63 PagelD #:23

5. Free download and description of an overwrite tool.

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7. Shredding a hard drive-an overwrite using random Tumbers

 

8. Virus method of overwrite
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Preparing People to Lead Extraordinary Lives

 

  

LOYOLA Human Resources
5 2 UNIVERSITY ones ‘ “aps
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= 6 ICAGO Chicago, (ineis 60611
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Tene — ‘Felepttone: £312} 915-6175

Fan: (312) 915-7612
F-Mai: hr-wic@luceda
March 19, 2009 Web Site: hup://wwwolucede/tr

By e-mail and regular mail

Miss Danielle Holt
3838 Carey Street
East Chicago, IN
4632

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Aut z
Thomas M. Kelly
Vice President for Human Resources

ce: Personnel File

 
 

Case: 1:10-cv-07917 Document #: 1 Filed: 12/13/10 Page 25 of 63 PagelD #:25

March 27, 2009

Thomas Kelly

820 N Michigan Ave
Chicago, IL 60611
(312) 915-7522 WTC
(312) 508-3140 LSC
(312) 915-6826 fax

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Sincerely

Bina ty

Danielle Holt

 
’ ' Case: 1:10-cv-07917 Document #: 1 Filed: 12/13/10 Page 26 of 63 PagelD #:26

1. Using the Novelt script to copy and overvrite files.

 

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3, Known email issues in Groupwise.

 

 

 

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5. Free download and description of an overwrite tool.
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7. Shredding a ard drve-an overwrite wsingr random rambers
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8. Virus method of overwrite
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Case: 1:10-cv-07917 Document #: 1 Filed: 12/13/10 Page 28 of 63 PagelD #:28

Human Resources

Water Tower Campus

820 N. Michigan Avenue | Chicago, IHinois 60611
Phone 312.995.6175 | Fax 312.915.7612
hr-wtc@luc.edu | wwwducedu/hr

 

May 1. 2009

By e-mail and regular mail

Ms. Danielle Holt
3838 Carey Street
East Chicago, IN
46312

Dear Ms. Holt:

You wrote me again in April 2, 2009 essentially appealing my decision regarding your
appeal of your February 19, 2009 termination. As J] said in my March 19, 2009 letter,
“Your appeal of the termination is denied.”

| hesitated about writing another letter, so as not to send a message that there are issues
left unresolved and needing discussion surrounding your termination. There are no such
issues.

Allow me to succinctly respond to the other issues in your April 2, 2009 e-mail:

co Your report of “bullying” in the workplace was reported 10 Hluman Resources and
was investigated. This was reported to you in the January 12, 2009 report from
HR on this matier. The finding from the investigation was there was no evidence
of your claim that you were being treaicd unfairly or subjected to “workplace
bullying” in your 2008 performance appraisal.

o You were terminated for cause. This action was taken because of your
unprofessional conduct and was not the result of any cos cutting or budget cuts.

As I've said before. this is an unfortunate end to your Loyola University Chicago
employment but it has been brought about by your own acts and omissions.

   

‘Thomas M. Kelly
Vice President for Human Reso

CC: Personnel File

 
Case: 1:10-cv-07917 Document #: 1 Filed: 12/13/10 Page 29 of 63 PagelD #:29

---------- Forwarded message -------—-

From: Michael Fillmore <mfillmore@novell.com>
Date: Thu, Feb 26, 2009 at 4:40 PM

Subject: Re: Group Wise links

To: Danielle Holt <dholt.csu@gmail.com>

Mike Fillmore
Tech Specialist for Workgroup
Phone: 801-861-5240

mffllmore@novell com
or mfillmore@suse.com

>>> Danielle Holt <dholt.csu@gmail.com> 2/26/2009 12:13 PM >>>
Your links are helpful. } am going through it in search of pasages
which support what we spoke about over the phone. Just to clarify what
we spoke about over the phone before I present my points to
administration.

1. The server software is purchased by the organization and installed

onto the server to be monitored and controlled. Novell does not store

the information on a Novell owned server.

Note: This is true. Novell will provide you with the saféware, you are responsible
Jor the correct set-up and instailation of it. We have many resources to help you.

2. Administrators who have administration rights are able to control

and manipulate anything that is on the server. This means that every

email on the server can be tampered with by anyone who has access to

the server.

Note: Any administrator with the RIGHT access, can gain access to any user's mailbox and/or
postoffice. it is important to make sure you trust the IT administrator you put in charge

of your email server.

3. Every so often a mass archive occurs. In order to restore an email

it has to have been archived. If it has not been archived onto the

server it can not be restored. If the server has been purged, it can

not be restored. This is internally controlled.

Note: Novell GroupWise messages can be archived in 2 ways. Total archival of the entire mail system

via back-up software built-in to GroupWise, or third Party software, or local archiving in which you can

store a local "archive" of your inbox on your computeraptop and restore it if you need to at any point. These
back-ups (local ones)

must be done manually by the end-user. Total email server back-ups are done by the administrator(s).

4. Ifa retraction occurs before the archive event takes place there
is a possibility that the retraction will not be captured, So it is
possible to retract an email, edit it and only the edited copy will
show up and not both copies. This is internally cntroiled.

 
 

Case: 1:10-cv-07917 Document #: 1 Filed: 12/13/10 Page 30 of 63 PagelD #:30

Note: True. Novell GroupWise will do a back-up based on a schedule that the administrator defines. Hf a
retraction and/or edit

happens inbetween back-ups (usually weekly or monthly), then it will not be captured. To get "real-time" back-
ap and email capture,

we rely on our third-party partners, like Messaging Architects and GWAVA.

5. Real time archiving can only ocur in the event a 3rd party (M+

archives ) messaging architect is installed on top of groupwise,

however the potentiality for capturing events of retractions, e-mail

content edits, date and time stamps is not 100% and subject to

snapshots which are taken at the actual moment the snapshot is taken.

Note: Using M+-Archive is as close to real-time back-up and capture as you can get. But yes, nothing is 100%
accurate.

6. To change the time, date, and content on a previously sent email

the steps are to simply set the time and date on a calendar to a

previous date, construct or edit the contents of the email and resend

the e-mail. This indicates that it is possible to reconstruct an email

inside the groupwise while allowing for the date to appear as if it

had not been changed,

Note: The ability to change dates/edit emails can be restricted by the administrator from a management console
(Consolet)

6. With the calendar set to a previous date and time stamp than the

actual moment it is created or edited. It is possibe for an e-mail in

Groupwise to appear as though it were sent at a previous date and it

will show up on the server with the previous date.

Note: The GW server will actually time-stamp EVERY email, Adniinistrators can track this.
Other end-users will nat be able to tell if you retract/edit.

Anything in technology is possible, nothing is absolute. Things can
happen, which is why it is important that we are careful and even then
things can still happen. The above list describes possible scenarios

of things that we need to be cautious of, but groupwise is willing to
assist us with developing a clear understanding of what is and is not
possible and preparing us for that.

On 2/26/09, Danielle Holt <dholt.csu@gmail.com> wrote:
> You are the best! Let me commence to reading. Thank you so much.

 

>
>

>

> On 2/26/09, Michael Fillmore <mfiilmore(@novell.com> wrote:

>>

>> administration guide:

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http://www.novell .com/documentation/gw8/gw8_admin/index.html?page=/documentation/gw8/gw8_admin/data/a?
zvyc4. btml

>>

>> installation guide:

 
 

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>> E-mail set-up:
>>

http://www. novell. com/documentation/gw8/pw8_userwin/index. html? page=/documentation/2w8/ew8_userwin/data/

 

ab32nti. html

>> Mike Fillmore

>> Tech Specialist for Workgroup
>> Phone: 801-861-5240

>> mfillmore@nevell.com

>> or mfillmore@suse.com

On 2/26/09, Danielle Holt <dholt.csu@gmaii.com> wrote:

> You are the best! Let me commence to reading. Thank you so much.
>

>

>

> On 2/26/09, Michael Fillmore <mfill!more@novell.com> wrote:

>>

>> administration guide:

>>
http://www.novell.com/documentation/gw8/gw8_admin/index.html?page=/decumentation/gw8/gw8_admin/data/a?

zyyc4 html
>>

>> installation guide:

 

gkue.htm!
>>

>> E-mail set-up:

 

 

>> Mike Fillmore
>> Tech Specialist for Workgroup
>> Phone: 801-861-5240

>> mfillmore@novell.com

>> or mftlimore@suse.com

 
a i Case: 1:10-cv-07917 Document #: 1 Filed: 12/13/10 Page 32 of 63 PagelD #:32

---------- Forwarded message ----------

From: Michael Fillmore <mfillmore@novell.com>
Date: Thu, Feb 26, 2009 at 5:01 PM

Subject: Re: link

To: Danielle Holt <dholt.csu@gmail.com>

Yes, abosiutely. That link shows that you, in fact, can change a time stamp on a GW workstation client.

Mike Fillmore

Tech Specialist for Workgroup
Phone: 801-861-5240
mfillmore@novell.com

or mfillmore@suse.com

>>> Danielle Holt <dholt.csu@gmail.com> 2/26/2009 4:00 PM >>>

 

 

 
 

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A vnerefert denver

w &
---------- Forwarded message ---------- 14 e ee e: de rev
From: Joan Stasiak <JSTASIA@luc.edu> xt ples pia ee kee
Date: Mon, Feb 23, 2009 at 4:14 PM pote s

Subject: Re: This was the email. Fwd: Re: request for Articulate Presentation and edit of contact
sheet
To: Danielle Holt <dholt.csu@gmail.com>

Danielle,

I just spoke with ITS. They have confirmed that Carol could not have edited the email...it was original
and not forwarded. They have also confirmed that Carol could not access your email account without
your password to your Groupwise account to edit the original. If this was the case, the email would have
been sent twice and would have a different date/time on it. ITS is confident that the email provided by
Carol is original.

~Joan

>>> Danielle Holt <dholt.csu@qmail.com> 2/23/2009 3:24 PM >>>

I did not edit my emails. these were the copies I sent to myself. I
did not edit them.

On 2/23/09, Joan Stasiak <JSTASIA@Iuc.edu> wrote:

> Danielle,

>

> I discussed the emails which you provided below with Carol. She

> printed off the original emails from you which are different from the
> ones below. Unfortunately, it looks like your emails have been edited
> to indude references to citings and uris. I will be providing you

> with 2 formal letter regarding your termination which will be efffective
> as of today's date.

>

> Regretfully,

>

> ~Joan

>

> Joan Stasiak

> Manager, Human Resources

> Loyola University Chicago

> 773/508-3143

> jstasia@luc.edu

>

>

>
>>> > Danielle Holt <dholt.csu@gmail.com> 2/23/2009 1:57 PM >>>

> I faxed you a hard copy also. I’m not sure why when I forward things

> to my luc e-mail, it does not show up right away, I tried from my

> yahoo and from this one and neither has shown up yet. But this was the
> e-mail. It was a while ago and Fm sorry 1 could not readily find it,

 
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> but I try and make sure I keep copies of all of our emails, so its

> like I have thousands and because I was unsure of the subject line. I
> kept looking for self and peer assessment. And I couldnt find it. But
> God is good. here it is.

>

a —-- Forwarded message ----------

> From: Danielle Halt <don9495@yahoo.com>

> Date: Mon, 23 Feb 2009 11:46:46 -0800 (PST)

> Subject: Fwd: Re: request for Articulate Presentation and edit of

> contact sheet

> To: dholt.csu@aqmail.com
>

>

>

> True Change is empowered by three entities... The Creator...The
> Educator... The Legislator

>
> — On Tue, 11/25/08, Danielle Halt <dholt2@luc,edu> wrote:

>

>

> From: Danielle Holt <dholt?@luc.edu>

> Subject: Fwd: Re: request for Articulate Presentation and edit of
> contact sheet

> To: don9495@yahoo.com

> Date: Tuesday, November 25, 2008, 7:04 PM

>

> Review this.

>

>

>

>

>>> > Carol Scheidenhelm 11/25/2008 10:53 AM >>>

>

> Danielle--I am unable to get arry data from the zip file you sent. All

> folders show 0 % content. I have not attempted to zip and email one of
> these yet but will be doing so later in the day. Perhaps I can have

> some insights to share then.

>

> Carol

>

>>>> Danielle Holt 11/25/2008 8:45 AM >>>

>

>

>>>> Carol Scheidenheim 11/14/2008 3:37 PM >>>

>

> Thanks, Danielle. The PowerPoint you sent is empty; not sure, maybe

> you attached the wrong file. The engage file/intro looks promising. As

> long as the citings are in the final draft that will be fine. It is

> not necessary to cite the rough draft. We can talk more about the file

> next Tuesday before or after or template meeting if you like. John

> just informed me a few minutes ago that my presentation time has been
> cut from 45 minutes to 30, so I will have to shorten my plans. Please

> be certain to raise this issue about the engage file with me on

 
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> Tuesday.

>

> Carol

>

>>> > Danielle Holt 11/14/2008 3:26 PM >>>

>

> Hi Carol, here is my beginnings of the request relevant to the

> Articulate file. 1 thought I might go into a more precise definition
> of the methods being used, however I have not inserted in the

> definitions or citings as of yet because I may change it, but I will
> make sure to do that once we discuss the final drafts e.g. the

> definition of a portfolio. Onoe I've done that my plan is to review
> the assessment plans received by our office as an example of how the
> method is being used by the actual departments in the form of a
> summary of the departments’ plan.

>

> Also I have found some links for rubrics. This isa 8 realy § great one,

 

> . I will send links to you and Sarah for the site. Another one I found
© te eter tee ad eben Deer assessment,
> https://webapp. is/pbbsupr

 

> I hope it is ok to use these as a guide. I will check them out this

> evening at home. Please let me know how this sounds to you and whether
> or not you prefer me to do something else. On my way to school.

>

> Thanks

>

>

>

> Dafiellé

>
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Verification from Carol herself that she was at my
desk and on my computer Fwd: Re: logged in to your
machines

Danielle Holt <dholt.csu@gmail.com> Fri, Nov 6, 2009 at 12:22 PM
Ta: amy. burkholder@eeoc.gov

 

 

Forwarded message
From: Danielle Holt <don9495@yahoo.com>
Date: Thu, Nov 5, 2009 at 5:55 PM

Subject Fwd: Re: logged in to your machines
To: dholt. csu@qmail.com

 

True Change is empowered by three entities... The Creator... The Educator... The Legislator
--~- On Tha, 2/19/09, Danietle Holt <dkplttaiue, edu> wrote:

From: Danielle Holt <dholt2@luc edu>
Subject: Fwd: Re: logged in to your machines
To: don?495 @yahoo.com

Date: Thursday, February 19, 2009, 2:18 PM

———-—- Forwarded message
From: "Danielle Holt" <dhoit2@luc.edu>
To: “Joan Stasiak” <JSTAS!|A@luc.edu>
Date: Thu, 19 Feb 2009 16:13:32 -0600
Subject Fwd: Re: logged in to your machines

 

-—------- Forwarded message —-—--—-

From: "Danielle Holt" <dholt2@luc.edu>
To: “Carol Scheidenhelm” <Cschei1 @luc.edu>,"Terry Moy" <TMOY 1 @luc.edu>
Date: Tue, 10 Feb 2009 08:54:11 -0600

Subject: Re: logged in to your machines

No Problem Carol. Was everything ok?

Daitiellé

>>> Carol Scheidenhelm 2/9/2009 6:51 PM >>>
Terry and Danielle--I needed to log in to your computers to check some settings so you will see my login id
today.

 

Carol

 

 

 
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--- On Thu, 11/5/09, Danielle Holt <don9495@yahoo.com> wrote:

From: Danielle Holt <don9495@yahoo.com>
Subject: Fwd: Re: GW archive

To: dholt.csu@gmail.com

Date: Thursday, November 5, 2009, 4:34 PM

True Change is empowered by three entities... The Creator... The Educator... The Legislator
--- On Fri, 11/14/08, Danielle Holt <dholt2@luc.edu> wrote:

From: Danielle Holt <dholt2@luc.edu>
Subject: Fwd: Re: GW archive

To: don9495@yahoo.com

Date: Friday, November 14, 2008, 11:05 AM

>>> Cory Martin 11/14/2008 12:52 PM >>>
Hello All,

I want to be as clears as I can to what I remember from the original test that me and Danielle
performed. As I remember it I was on the phone with Danielle we where speaking about emails
that she noticed had disappeared from her mail box. Danielle at this time asked me if there was a
way that you can delete emails from someone else mail bex that you had sent 2 message to, my
first response was no I don't think you can do that. So that is when we performed the test, as I
recall it Danielle then sent me an email, I told her over the phone that I had the email and that I
was opening it she performed the retraction and the message did go away.

Now after doing more testing yesterday on the phone with Danielle with numerous email tests,
we could not recreate the result that we got during the first test we performed days before. After
doing some research online, and going over the groupwise manual the result that we got on the
first day of testing was impossible. I do feel now after the second set of testing and the research
that I found, that the result we got after the first test was due to timing, that we may have just
been performing our actions faster than groupwise could refresh. That is the only logical way
that I can see us getting the results that we got. 1 do not recall that the email we used to test on
the first day was an older email that Danielle had sent me, I also feel that we should have done
more than one test run that day, I feel like that was my fault and it has added to the

confusion about the process of retraction, I do apologize.

Cory M.

>>> Danielle Holt 11/14/2008 11:26 AM >>>
Hi Kathy, quick note. If 1 am not mistaken the e-mail had been opened a few days before
performing the test as opposed to having been opened just before.

 
 

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Dafiietlé

>>> Kathy Ryan 11/14/2008 11:21 AM >>>
Cory

Just a thought I had about the testing you did on retracting email. Since the results you and
Danielle saw the other day seem to go against any testing we saw and any documentation we
found, is it possible that if the results you got were not mistakenly interpreted, it may have been a
timing issue. If the retraction occurred at the same time the email was opened, could this have
resulted in the opened email retracting? In a testing environment, sometimes we tend to do things
in quick succession. Thoughts?

Kathy

>>> Carol Scheidenhelm 11/14/08 9:42 AM >>>
Danielle--thanks for the clarification. I was just trying to find some rational explanation to the
situation.

Carol

>>> Danielle Holt 11/14/2008 9:39 AM >>>
No Carol, if this were a case relevant to the archiving process, I am guessing that all of the e-
mails within that period would be gone which they are not. My hypothesis is that either someone

was able to access my e-mail account and deleted them or someone was able to delete it even
though it had been opened.

Also, I would like to reiterate, on the day that Cory and I first attempted to explore the issue I
distinctly recall, my being able to delete an e-mail I had sent him which had been opened with
the two of us being on the phone together as it happened. Perhaps it was a one time incident as
can sometimes be the case with technology, but it did happen. My memory is very good.

Also the e-mails did not disappear in June, they disappeared more recently than that-sometime
around October. In fact I can forward you an e-mail from the month of May or June or July right
now. The e-mails that are missing are only the ones I kept in a particular location. The
disappearance seemed top be very localized and targeted. As I stated, I will investigate this
further, probably during my off time. 1 am anxious to see what the results will be.

Thank you for the suggestion though

Daiiiellé

 
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>>> Carol Scheidenhelm 11/14/2008 9:18 AM >>>

Danielle--this thought just occurred to me: is it possible that you opened your email on another
computer using the GW client in June (when the archive disappeared?). | don't know how the
original archive was set up (where it was going to), but I recall that others have complained
about email archiving on machines other than their own when using the client on a foreign
machine. Again, I'm not sure this is relevant to the lost archive but thought I'd share it not that it
has crept from the recesses of my memory.

Carol

>>> Danielle Holt 11/14/2008 9:08 AM >>>
Thanks Cory,

I'm also going to do some research on this. As I stated to you on the day we performed the first
test, it was very awkward that it had happened and I distinctly recall that it did happen. I'm sure
there is an answer for this occurrence and when I discover it, I will be sure to share my results
with all.

Best,

Daéfiiellé

>>> Cory Martin 11/13/2008 5:22 PM >>>
Hi Danielle,

1 found more information on email retraction in groupwise. I am sending you two links, one is a

link to the groupwise manual, if you go down to section 2.3.2 it gives a clear explanation of the
retraction process. The other link is to some FAQ about groupwise.

Manual section 2.3.2.: http://www.luc.edu/its/pdfs/gw7_userweb.pdf

Scroll down to the question: I just sent an email message that I did not want to. Can I retract
it? http://www.holycross.edu/its/get_help/gs_ email/faq_email

Sorry about the unclear info before.

Cory M.

 
‘ ' Case: 1:10-cv-07917 Document #: 1 Filed: 12/13/10 Page 40 of 63 PagelD #:40

-~ On Wed, 11/12/08, Danielle Holt <dholt2@Juc.edu> wrote:

From: Danielle Holt <dholt2@luc.edu>

Subject: Fwd: Re: Request for filing of report of harassment
To: don9495@yahoo.com

Date: Wednesday, November 12, 2008, !:18 PM

Daftiellé Holt, MSED

Assessment Coordinator

Office of Learning Technologies & Assessment
Office of the Provost

Loyola University Chicago

Phone: 773.508.7475

Fax: 773.508.3102

Email: dholt?@luc.edu

>>> Danielle Holt 11/12/2008 3:17 PM >>>
Thank you for this information Tom.

Dafiiellé

>>> Thomas Kelly 11/12/2008 2:54 PM >>>
Danielle,

I'll make sure you receive a signed copy of the performance memo you discussed with Joan
Stasiak and Carol on Monday.

Abe will investigate your complaint. In the meantime your supervisor has the right to set work
expectations and you should comply with those expectations.

best...tom.

Thomas M. Kelly

Vice President for Human Resources
Loyola University Chicago

820 North Michigan Ave. - Suite 820
Chicago, IL 60611

312-915-7522

312-915-6826 (fax)

tkelly4@luc.edu

 
 

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http://www.luc.edu

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Preparing People To Lead Extraordinary Lives.

>>> Danielle Holt 11/12/2008 1:20 PM >>>

Tom, I was not aware that I was currently working on a formal performance improvement plan.
At the end of our meeting, it was mentioned that the document had not been signed by my
supervisor. Nor was I provided with a signed copy. I expressed some concern with the accuracy
of the items listed in the formal improvement document, in addition | also expressed some
concern with the ability to work with Carol in an objective fashion, given that it has consistently
been her word against mine even though I have been able to produce documents which refute
many of her repeated accusations.

T expressed to human resources that it is very intimidating for me to be alone with her. If what
you are saying is that I have no choice of voice in this matter, and that it is expected of me by
Loyola to adhere to the formal performance improvement plan without any means of an
investigation prior to its implementation, without an official copy signed by the supervisor, and
without any submission of a formal rebuttal to be attached-which I had planned to submit once I
received the signed copy, then I can accept that. I was not aware of this expectation, however it
is not my goal to be resistant towards any of Loyola's policies.

Please let me know your wishes and I will comply.

Thanks

Dafiiellé

>>> Thomas Kelly 11/12/2008 12:56 PM >>>
Danielle,

Thanks for this more lengthy explanation. I am asking Abe Cortes - HR Manager in my office
to investigate your complaint. At a minimum he will have a conversation with you and with

your supervisor to determine the merits of your complaint and any appropriate next steps.

i am now aware that you are currently working on a formal performance improvement plan,
please continue to work on completing objectives and deadlines established under that plan.

thanks...tom.

Thomas M. Kelly

Vice President for Human Resources
Loyola University Chicago

820 North Michigan Ave. - Suite 820
Chicago, IL 60611

 
 

Case: 1:10-cv-07917 Document #: 1 Filed: 12/13/10 Page 42 of 63 PagelD #:42

312-915-7522
312-915-6826 (fax)
tkeily4@luc.edu

http://www.luc.edu

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>>> Danielle Holt 11/11/2008 4:19 PM >>>
Workplace bullying as it applies to, Performance appraisal, Retaliation, and title VH.

Here is an article which references a coupte of the types of offences I am currently experiencing.
http://www. luc.edu/ume/newsroom/inthenews/internal/031008_3.pdf . I realize we are only a
department of three, but when I review the differences with which me and my coworker Sarah
are treated by Carol, it becomes difficult to understand that something of this nature could exist
here at Loyola of all places. An example is for the past year I have observed Carol be completely
fine with whatever time Sarah comes in and leaves. I come in early, I leave late but I was
recently written up for showing up at a conference at noon as opposed to 10 a.m. I even had
documentation to demonstrate I had been told by my boss it was not mandatory. When Carol
addressed me she screamed at me, stating "I want to know where the hell you were", she has
gotten in my face in an intimidating manner, she keeps writing mis-truths about my work and
attitude, 1 am at a loss for what to do. I have repeatedly suggested we need either a neutral
objective party from outside the department or a camera in the midst of our meetings.

We had a Blackboard conference and Carol was not interested in having the evaluations
tabulated by me as I normally would, its almost as though she no longer wants me to compute
any data- which I presumed was one of the primary reasons I am here. My e-mails have
disappeared and even though I have back up copies, for Carol to state on a document that I lost
them is not an accurate statement. I have tabulated mounds of data accurately, yet Carol has
chosen to write me up for leaving two names off a table that she and I were actively in the
process of collaborating on. Typically the information placed within the table is supposed to go
from the departments to her and then she forwards the information to me, but this past week I
have contacted some departments to re-request the information and have been informed by one
department that they had discussed their situation with her, but they had a previous copy.

On another occasion here recently, 1 was copied on an e-mail that said she had reviewed

a potential assessment rubric, to which I requested if I could have a copy to place in the file-
which she did provide me but I wonder if I had not asked would that information had been
provided to me and had it not been provided to me would I be written up for not having included
it-when it had not been provided to me to begin with. Some times Caro! has given me
information, some times she forgets, sometimes I have to ask. Some days I'm afraid to ask. I am
at a loss for what to do. J love this position. I value being able to do what I love. Her complaints
appear to be the kind one uses when attempting to make an employee look inadequate or inferior.
I believe Carol's attacks are personal. Carol recently mentioned me being late to the FOT

 
 

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convention, I was here in the office making copies of handouts that were needed for the
convention.

Oftentimes Carol has written several untruths pertaining to my whereabouts, changed my
timecard without even mentioning it to me or discussing it with me.Given me an

assignment, commented Sarah would be the better person to which I asked if she would iike me
to take it off my "to do " list to which Carol responded she had forgotten she had assigned it to
me. I respect her Tom, and am willing to do anything she asks, but I get the sense that every time
I offer HR an attachment to her comments, it infuriates Carol and she waits. I come in early, I
leave late, I make it a point not to refuse her, I have I've tried everything, electronic responses,
written responses, not responding, I am careful of my body language, my tone, lest I be reported
as being flippant or rash. Here recently I realized, I've become afraid to be alone with her. I have
no idea what she is going to say to me, how she's going to tell others I responded to her,

I wait and ask her three times how she would like to have something done before I begin, I make
4-5 copies of each file, | keep copies of all the e-mails.

What eise can I do Tom, I want to be here in this position at this institution-I'm not interested
in being in another department at Loyola. From the time of my first evaluation to which |
responded until now, it has only been Carol's word inferring I am less than adequate and my
documented tracking and endless screen shots of files and communications to demonstrate
otherwise. For whatever reasons, Carol is extremely angry with me and determine to not paint
me in the best light whereas once upon a time she raved about my work. Now, not so much.
Whatever advice you can give me, I appreciate.

Thanks
Daiiiellé Holt, MSED
>>> Thomas Kelly 11/11/2008 12:10 PM >>>

Ms. Holt,

What type of harassment are you alleging? I need to know so that I can assign the investigation
of your charge in the most effective manner.

Please advise.

Thomas M. Kelly

Vice President for Human Resources
Loyola University Chicago

$20 North Michigan Ave. - Suite 820
Chicago, IL 60611

312-915-7522

312-915-6826 (fax)

 

 
 

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>>> Danielle Holt 11/12/2008 1:20 PM >>>

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Daiiellé

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Loyola University Chicago

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Chicago, IL 60611

 

 
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>>> Danielle Holt 11/11/2008 4:19 PM >>>
Workplace bullying as it applies to, Performance appraisal, Retaliation, and title VII.

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I believe Carol's attacks are personal. Carol recently mentioned me being late to the FOT

 

 
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convention, I was here in the office making copies of handouts that were needed for the
convention.

Oftentimes Caro] has written several untruths pertaining to my whereabouts, changed my
timecard without even mentioning it to me or discussing it with me.Given me an

assignment, commented Sarah would be the better person to which I asked if she would like me
to take it off my "to do " list to which Carol responded she had forgotten she had assigned it to
me, I respect her Tom, and am willing to do anything she asks, but J get the sense that every time
I offer HR an attachment to her comments, it infuriates Carol and she waits. I come in early, |
leave late, I make it a point not to refuse her, I have I've tried everything, electronic responses,
written responses, not responding, I am careful of my body language, my tone, lest I be reported
as being flippant or rash. Here recently I realized, I've become afraid to be alone with her. I have
no idea what she is going to say to me, how she's going to tell others I responded to her,

I wait and ask her three times how she would like to have something done before I begin, I make
4-5 copies of each file, | keep copies of all the e-mails.

What else can I do Tom, I want to be here in this position at this institution-I'm not interested
in being in another department at Loyola. From the time of my first evaluation to which I
responded until now, it has only been Carol's word inferring I am less than adequate and my
documented tracking and endless screen shots of files and communications to demonstrate
otherwise. For whatever reasons, Carol is extremely angry with me and determine to not paint
me in the best light whereas once upon a time she raved about my work. Now, not so much.
Whatever advice you can give me, I appreciate.

Thanks

Daitiellé Holt, MSED

>>> Thomas Kelly 11/11/2008 12:10 PM >>>
Ms. Holt,

What type of harassment are you alleging? I need to know so that I can assign the investigation
of your charge in the most effective manner.

Please advise.

Thomas M. Keily

Vice President for Human Resources
Loyola University Chicago

820 North Michigan Ave. - Suite 820
Chicago, IL 60611

312-915-7522

312-915-6826 (fax)

 

 
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tkelly4@luc.edu

http://Avww.luc.edu

Loyola University Chicago
Preparing People To Lead Extraordinary Lives.

>>> Danielle Holt 11/10/2008 5:22 PM >>>
Hi Professor Kelly,

I would like to file a formal report of harassment against my supervisor Caro] Scheidenhelm. I
love my job and value my position here in this department. This is my calling. 1

Thanks

Déftiellé Holt, MSED

Assessment Coordinator

Office of Learning Technologies & Assessment
Office of the Provost

Loyola University Chicago

Phone: 773.508.7475

Fax: 773.508.3102

Email: dholt2@luc.edu
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Disciplinary Report of Conference

Wednesday, October 15, 2008 10:18 PM

From:

“Joan Stasiak" <jstasia@luc.edu>
To:

“Danielle Holt" <dholt2@luc.edu>
Ce:

“Carel Scheidenhelm” <Cschei1 @luc.edu>

—Inline Attachment Follows----

Danielle,
First and formost, | again extend my sincere concern regarding your daugher's situation.

Per our meeting of this afternoon and your inquiry as to why you were receiving a written rather than oral
warming, policy states that if a pattern of misconduct develops or a serious incident occurs, a Written
Report of Conference may be appropriate (refer to policy:

htto-/Awww luc edu/hr/policy_progdiscipline.shtml). As discussed, your supervisor feeis that a pattem of
behavior is developing which falis short of professional expectations. Also, the manner in which you
initially discussed, or refused to discuss, the reason why you were not present for the 10:00 a.m.
Blackboard session on October 9th bordered on insubordination. Discussions have been heid with you in
the past conceming professional expections, including methods of communicating with your supervisor
(you, Carol and | participated in this discussion).

Considering the circumstances which were revealed in today's meeting concerning your daughter, you
are certainly welcome to grieve this disciplinary action. In doing so, you may want to provide a statement
from your daughter's physician to valididate her hosptial stay on October 9th.

I wish your daughter a full and speedy recovery. As mentioned during our discussion, | encourage you to
pursue assistance from, Perspectives, our Employee Assistance Program, to help you through this
stressful time. Information on Perspectives can be found at: hitp:/Awww.luc.edu/hr/eap. shtml.

Please let me know if you have any questions or need clarification on the above.
~Joan

Joan Stasiak

Manager, Human Resources

Loyola University Chicago
773/508-3143

 

 
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Seip lina
1. Blackboard Convention ie Por.

An e-mail was received which stated attendance was optional. See attached copy of the email

 

At the meeting between Joan, Carol, and myself it was indicated that Carol had informed Sara and
myself that our attendance at the convention was mandatory: | have no recollection or knowledge of such
information being provided io me. | followed fhe message shown in the email

Because the email indicated that attendance was not mandatary, | did not teat it as mandatary. When
ihe initial discussion regarding the Convention was held the following Monday, it was relayed to Carol
that my reason for arriving after 10:00 a.m. was due to construction and detours along a route of travel to
the conference site. | expressed to her that | had taken a different route than previously planned and

along the alternative route there was construction and detours which caused my arrival to be delayed.

An exchange of dialogue as to why a particular route was necessary or a phone call had not
faken place was neither discussed nor initiated by either party (Carol or myself) in the initial meeting. It
was relayed to both Joan and Carol that a phone call to Carol was not made because it was not possibile
and had it been possible it would have occurred as it has been my pattern since my time of hiring.

2. FEOT Conference
A review of conference materials prior to the presentation being given took piace three times.

See attached copy of the email.

At the meeting between Joan, Carol, and myseff it was indicated that | had not discussed the
content of a presentation prior to presenting the actual: it is my understanding that | had. On three
occasions’, the contents of this presentation were discussed. The original instructions indicated that ! had
an option to discuss them with Laurie or Carol. The next discussion involved Carol, Sarah, and myself in
a department meeting approximately 2 days before the conference. The final discussion was held the day
of the presentation.

Following the transition over to the Information Commons, | asked Carol if she would mind reviewing
the materials prior to my presenting them. We stood at a table inside the information Commons near the
room where | was to be located and she reviewed them page by page commenting “this looks good”.
There was a young man there who | believe works in IT and observed this exchange of information. The
young man was also volunteering for the conference and was originally stationed at the sign-in table.
Once | have completed an assignment from Carol it has been my pattern to submit to her the information
for her fo review and approve.

3. Assessment Grid
Assessment grid placement of the two additional units had not been requested.
See attached copy of the email.

At the meeting between Joan, Carol, and myself it was indicated that | had not included two
institutions on the assessment grid. The original instructions for this assignment indicated that was to only
include the undergraduate units. Recently, Carol indicated to me that John would like to include both
undergraduate and graduate information. Our process in this has been that the Units send the original
response fo her and she forwards that information to me so that | may update the grid and folders on the
N drive. Following this step | provide her with an updated copy of the grid for her to review. Additionally, !
review the previous folders and also request from her information pertaining to which units should and
Should not be included.

Originally Carot informed me not fo include Nursing, Pastoral studies, School of
Education, Social Work, School of Medicine, Military Studies, however several of these departments
began to send me information which | would: First confer with Carol on what fo do with the information.
Secondly, incorporate the unit information into the file and grid as she directed me to do so. Thirdly,
Supply carol with an electronic or printed out copy for her to approve. My patter of action on this
assignment was no different than my patie on other assignments she has given me.

 

 

 
 

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4. Submission of Conference information

Conference information has been provided on IUPUI Assessment Conference and Livetext.
See attached copy of the email.

At the meeting between Joan, Carol, and myself it was indicated that | had not provided Carol
with information regarding upcoming conventions

On fwo occasions’ i have sent Carol electronic information on Assessment conferences. The first
was to the IUPUI Assessment conference and the second was fo the Livetext conference. | also verbally
discussed with her the aforementioned conferences: the AIR conference; the HLC assessment
conference; the Blackboard conference, prior to its implementation and an upcoming Educause
conference.

5. Passing work off as my own
Two Articulate Quizmaker files were submitted into our department shared blackboard shell.

tis my understanding, per my review of the Written warming notification, that | have passed someone
else’s work off as my own.

Two Articulate Quizmaker files were submitted into our department shared blackboard shell, One which !
used as a means for investigating the electronic transferring process from a SCORM file into blackboard
and one that | created which was my own original work. | do not recall it being discussed with Carol that
both files were created by me.

5. My Personal and Professional Activities Outside Loyola
AQIP and BIE involvement was discussed and information was shared.

itis my understanding, per my review of the Written warming notification, that it is requested of me that !
share elements of my involvement with external organizations and agencies.

Much like the Loyola policy which stipulate that my efforts produced regarding Loyola are owned
by Loyola and that the information discussed regarding Loyola operations is privileged and confidential, |
am required a certain level of confidence and trust by these entities also.. Aside from my desire to
operate within an esteemed level of ethical professionalism, these are not affiliations for which | am paid
in an exchange for services. My explanation to Carol in the past has been and remains ‘I provide to them
a means for dialogue and collaboration with respect to issues of higher education’, outside of my
regularly scheduled times of work at Loyola. | believe it best that | keep select components of my work
and personal life separate.

6. Verbal Reprimand
A request for documentation stating prior discussions constitute a verbal warning.

if is my understanding, per my review of the e-mail sent by HR, that my request was meant to question
the process of my receiving a written rather than a verbal waming.

My request was fo receive a letter from HR stating that our previous discussion constituted a
verbal warning. This request is for documentation purposes only.

 
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Blackboard meeting before SLATE

Wednesday, October 8, 2008 11:02 AM
From:
"Caral Scheidenheim” <Cscheii @luc.edu>
To:
"Christina Bello" <Cbello@luc.edu>, “David Ensminger’ <Densmin@luc.edu>, "Danielle Holt"
<dholt2@luc.edu>, "Frederick Bamhart” <fbarnha@luc.edu>, "Jack Corliss" <JCORLIS @iuc.edu>,
“Judith Docekal” <JDOCEKA@luc.edu>, "John Orwat” <Jorwat@iuc.edu>, "Lauree Garvin"
<LGARVIN@luc.edu>, "Liz Van Kleeck" <Lvankle@luc.edu>, "Michael Boyle" <Mboyle3@luc.edu>,
“Marla Israel” <Misrael@fluc.edu>, "“Meng-Jia Wu" <Mwu2@luc.edu>, "Ruanda Garth-Mc Cullough"
<RMCCUL1@luc.edu>, “Sarah Brittain" <sbrittain@luc.edu>, thibane@luc.edu, "Teresa Sosa"
<tsosa@luc.edu>... more
Colleagues—Blackboard has contacted me regarding their interest in meeting with faculty from LUC to
hear what people are thinking about their product. This would be a good opportunity to have some input
into future product development. A Bb rep will be available at 10:00 tomorrow AM in the Gleacher Center,
6th. floor (that is where the conference is being held).

If you are available in the AM and can come early to the conference, please join us. We will probably be
in 608, which is one of the conference rooms. | will be at the registration table by 10:00 and will have
more information at that point. | know this is last minute so do not feel obligated.

Thanks for your interest!

Carol

 
 

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LOYOLA

 

Performance Improvement Document:

Goal Setting - Performance Management - Performance Feedback
Daitiellé Holt December 2007-May 2008

Performance Improvement Purpose: The performance improvement process at Loyola University Chicago features
specific, measurable, results oriented goals and ermphasizes some core behaviors. University leaders and supervisors are
expected to translate the University’s strategic, school-divisional and departmental goals into performance expectations
for each employee, modifying those goals as new issues arise or new priorities emerge, monitor progress towards
accomplishing expectations and provide regular feedback to an employee on their performance relative to the
expectations, This form is used annually to document the on-going performance improvement process and to initiate the
cycle of establishing and managing performance expectations for next year.
1. Supervisor should begin the process by completing page 2 which provides an opportunity to document the
goais and projects during the performance period. Supervisors have the opportunity to provide
performance feedback or rating on each goal and to provide specific comments on employee
accomplishments and challenges for each goal. (Please note: If goals or expectations not set in past - please
use Page 5 and devote time to developing action plan for future goais - see Instructions below)
2. Supervisor should also complete page 3 that asks for specific performance feedback or rating on a series of
core work behaviors and management qualities. Where appropriate provide specific examples of behavior
or activities that substantiates performance feedback or rating.
3. Supervisor should complete summary comments considering all the various dimensions of performance and
suggest means to close gaps between performance and performance expectations or suggest ways for
continued professional growth and performance improvement.

4, Supervisor should distribute partially completed form to employee, ask employee to complete form (see
step #5) and schedule an appointment to discuss completed performance improvement document.
5. Employee should review goals section and complete page 3 that asks for employee to assess and rate

his/her behavior on a series of core work behaviors and management qualities. Where appropriate, the
employee should provide specific examples of behavior or activities that substantiates self assessment or
tating.

6. Employee should complete summary comments considering all the various dimensions of performance and
suggest ways to close gaps between performance and performance expectations or suggest ways for
continued professional growth and performance improvement.

7. Employee and supervisor should meet and work towards a three fold agenda: a) discuss completed
performance improvement document, b) make necessary revisions and or updates to document based on the
performance discussion, and ¢) set future development and work goals (short and long term)

8. Supervisor should secure employee, supervisor and second level reviewer’s signature; make copies for
departmental and employee records and forward original to Human Resources for personnel file.

Instructions for Future Action Plan; Employees and supervisors should use page 5 to collaboratively set goals,
discuss performance expectations and establish employee development plans for next year. This working document
should be the starting point for future goal setting and performance communication throughout the next year. The
supervisor is ultimately responsible for finalizing, modifying and prioritizing the goals and development plans
during the on-going performance communications.

 

 

Daftiellé Holt 117129

Employee Name: Employee Number:

Assessment Coordinator Office of Learning Technologies and
Assessment

Employee Job Title: Employee’s Department:

Carol Scheidenhelm May 29, 2008

 

Supervisor’s Name: Date:

 
 

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Dafiiellé Holt

Goals and Objectives
For Period: December, 2007-May 2008

Document the established goals and objectives that were established during this time period, A section is
provided for supervisors to comment about and provide performance feedback / rating about each goal. The
performance feedback or rating should be communicated according to the following scale :

1 = Docs Not Meet Expectations 2= Meets Expectations

3 = Exceeds Expectations N/A= Not Applicable

 

   
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

Record srocodures puilined in the assessment plans 20 = (| It has been useful to have a record of what 3
units have what filed information.
Assist in planning web content on assessment 10 =| Our staff all need to be more active in 2
creating and planning web content.
With Carol, begin working with faculty who are interested 20 =| Meetings have been progressing very well; 2
in course and program assessment. faculty seem to be pleased with what you
have shared.
Compile assessment research 10 | The materials on the N drive will be good for 3
our web site as well as for general reference.
Establish database or structure for reporting assessment 20} | The various ways you have recorded data 3
plans from unis should provide extremely useful as we move
forward and update dept. compliance.
Investigate resources for online or electronic evaluation 10>) | While we are not yet ready for an extensive 3
and assessment programs launch of this type of program, it is useful to
have up-to-date information about available
programs and software.
Research assessment practices of Core and general 10 | This is an area that will need more work as 2
programs at other universities we move forward with the Core assessment.
project.
100%
Behavioral Expectations
Provide specific performance feedback on core university work behaviors and management qualities. The
performance feedback or rating should be communicated according to the following scale :
1 = Does Not Meet Expectations 2 Meets Expectations 3 = Exceeds Expectations N/A= Not Applicable
Core oe Banting, | Rating
Loyola Mission/Vision: Consider effectiveness in This is difficult to measure put T have seen 2 2
Solas ea Supporting the Daiversity Mission and ay nothing to indicate there is a problem with
vision. Consider in iv sagt + + miect
and behaviors facilitates achicvement of departmental goals your wore confl icting with the Jesuit mission
Interpersonal’Teans Effectiveness: Consider effectivencss Your work with [TS and outside units has been 2 2
a ering with and cooperating with internal and exteraal good. I hope to increase the amount of
valuing Genin betes ieee i od fe other ea interaction we have as an LTA team.
positive work climate
Commanication: Consider ability to communicate goals Communication skills are well developed and 2 2
clearly. Evaluate oral and written communications, listening | you are learning how to respond to LUC
skilis; ability to commumicate at all levels of the organization, faculty.
providing feedback, being accessible, responsive and helpful.
Responsiveness io Change: Consider ability to support and = | My concern here is that you often react 1 2
adapt to changes in the work environment. defensively to suggestions and constructive
comments.
Responsiveness 10 Change (11): Evaluate pro-active, I separated this part of the question from the 3 3
problem-solving approach toward work; commitment to Life- first sentence (above) because they are quite
ore sgauming by continwousty increasing mas know ice and | different. You exhibit a great desire to learn
lutions and : i anit d informed and move forward and share that knowledge
independent judgment when needed. with others.

 

 

 

 

 

 

 

 
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COMMENT Section

 

Employce’s Comments

Provide additional comments about the year’s overall performance. Consider all aspects of job performance, including goal
accomplishments and work behaviors specified in this document

For the most part I am in agreement with most parts of the evaluation with the exception of the first category of response to
change. While [ acknowledge there may have been times when pou have observed an exhibition of defensive behaviors in
relation to suggestions, challenges or constructive comments that make you think I am resisting the information or arguing
against the information being presented to me, it is typically because the suggestions, challenges or constructive comments
have appeared to be either condescending, offensive, and hurtful (whether it is conscious or unintended).

Please note that these instances have typically been unrelated to the tasks assigned to me in relation to the position for
which I was hired and more so to do with incidents that do not fail up under that umbrelia. Aiso note my repeated response
to these incidents have been relatively consistent .and in the form af questions as it is always my first inclination to seek
clarification as to what is it that is being stated and/or expected of me.

Ofientimes your suggestions, challenges or constructive comments are unclear and/or contrary fo my perception of why I
was hired. Was it because I possessed skills in assessment and happened to be a minority or was it because [ was a minority
who happened to be skilled in assessment. [ come back the next day with a new attitude because I remind myself that
irrespective of what has been said or done to me I am still a minority who happens to be skilled in assessment and as long as
i remain a minority that is skilled in assessment whe chooses to remain employed I will have to face these kinds of instances.
None-the-less, it is my intention to make a conscious effort to eliminate all external and observable signs of this behavior.

J thank you for yeur commentary and intent to use it as a tool for grawth, as Lam also appreciative of the work that is
provided by our office and the apportunity to serve as a vessel in fulfillment of its mission.

 

Supervisor’s Comments

Provide additional comments about the year’s overall performance and enter support for the evaluation below. Consider all
aspects of job performance, including goal accomplishment and work behaviors specified in this document.

In the six months you have been with Loyala and our office, I have been impressed with your knowledge of statistical data
and watched you grow in your understanding of the role of this office regarding assisting departments with the charge of
assessment, The conferences you have attended have added to your core of knowledge and you have been pro-active in
using and sharing that information. The infrastructure you are building for recording and tracking assessment data is
especially useful and has already proven to be a benefit for quickly accessing information about the various units.

Ady only real concern is in your response io suggestions, challenges or constructive comments: you tend to exhibit defensive
behaviors that make me think you are resisting the information or arguing against it. In most instances, you come back the
next day with a new attitude; but this type of reaction (whether it is conscious or unintended) you need to reflect on as it can
negatively impact your effectiveness in terms of those you work with.

Overall, I feel we are all coming to an appreciation of the work that is needed from our office and you are an important part
of that mission.

Additional Comment (added after goal-setting session 6-4-08): Danielle did complete her MSED in May 2008, as stipulated
in the goals established for her first 3 months of employment.

 
 

 

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Danielte--thanks for taking the time to go over your end-of-the-year evaluation yesterday. I have
added the developmental goals and project objectives I suggested and we discussed. Now that you
have had some time to think about these areas, I encourage you to add to the goals and projects;
this process is not intended to be something your supervisor dictates, but one where we work
together toward a common goal. You may have misunderstood this when I scheduled the meeting
and stated the need to establish goals for the coming year. I have attached the amended document
for your perusal. Per your request, I added that you did complete your MSED according to the
deadiine listed in the codicil to our Performance Improvement Document of December, 2007.

I continue to be concerned about your remarks in the *Employee's Comments* section of the
evaluation and also the comments you shared during our evaluation discussion yesterday. It is not
my intent for you to *eliminate all external and observable signs* of your discomfort over being
asked to do things *contrary to [your] perception of why [Ij was hired.* Instead, I hope you will
raise these issues when they occur so we can work them out. You were not able to provide specific
examples of being asked to perform duties outside of what you were hired for, so i will have to rely
on you to point out these problems as they occur.

It is important to reiterate, however, there will always be extra work and things that fall outside the
scope of our primary positions; these are tasks we all perform in order for our unit to function. As
your supervisor, it is my obligation to make decisions about work loads and also about professional
opportunities that may fall outside the scope of our unit goals. I hope we can work together to
establish these priorities.

Additionally, I am concerned about your perception of being treated as a minority--whether you
define that minority as race or profession. The comments you wrote on the evaluation and those you
shared during part of our interview yesterday, suggested that you were referring to race--and not to
the fact that you are a minority because you are an assessment person (as you contended when
pressed for examples yesterday). Again, you need to share this information with me at the time of
the incident so I can better understand your position. The examples you provided me yesterday were
not related to discrimination as much as to my making a decision on conference participation based
on the immediate needs of our unit.

During our discussion yesterday, you mentioned that you were now part of the HLC AQIP team. Since
you list your affiliation as an instructor at Chicago State, I am puzzled, however. Outside, paid
positions (instructor at Chicago State) require approval from your LUC supervisor. Is there
compensation involved with the AQIP position? I am confused by your listing your affiliation as you
have and need to discuss with you more fully what your obligations to AQIP will entail.

As I have written and stated repeatedly, Danielle, your work on the compilation of information for the
reporting units has been very good; your abilities are not in question. It is my hope that we can work
together to reduce any workplace discomfort you may feel while still meeting the needs of our office.

I will be in the office tomorrow and would like to get the evaluation copies signed and filed this week,
if possible. If that is not enough time for you to review the document and add additional goals,
please tet me know and we will file them next week,

Carol

 
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>>> Carol Scheidenhelm 2/18/2009 9:49 AM >>>
Danielle--your assumption is correct and the outline of dates you list below is what I am looking
for. Thanks for clarifying.

Carol

>>> Danielle Holt 2/18/2009 9:45 AM >>>

Thanks Carol, As we discussed yesterday, my questions regarding the construction of the
abstract are: Should the dates be the one they submitted the folder to me in 2008 or should it be
the date notated on the file? I believe you stated it should be the one notated on the file itself,
which can be confusing to a reader - also I am keeping in mind the grid. I am almost certain that
when departments have submitted something in 2008, they considered what they sent to be
satisfactory, up to date and/or most recent, and in compliance with what was requested from our
office, but I could be wrong.

Tam believing you want something like this with the appropriate summary underneath the
heading. If this is not correct, please let me know.

Example:

submitted to our office June 2008
date of plan 2008

date of tool 2004

date of results 2003

Dafielle

>>> Carol Scheidenhelm 2/18/2009 9:30 AM >>>
Thanks, Danielle: I was unsure of the numbers but rely on the totals on the spreadsheet that you
have summarized.

yes, the department data is confusing. I think it best, as I stated previously, to take the most
recent plan you can find and use that for summary information. There is no need to go back to
2004 plans (unless that is the most recent). I have copied below the information from my Feb. 9
email. I might add to the information to clarify, we need the date of the most recent results as
part of that summary (number 3 below). Please let me know if you have further questions about
his process of summary information.

If you feel you do not want to begin restructuring the N drive, I wil] be happy to assist with the
process. If this is something that needs to be done together, we can schedule time for that.
Sf

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>>The summaries of the assessment data from N can proceed even before we finalize the
assessment content. You need to record the information from the most recent report, as discussed
in our Feb. 3 meeting. The abstracts should include: (1) method of assessment (2) date of plan
(3) summary of most recent results (4) any statement of how they are using those results (if
available). <<

Carol

>>> Danielle Holt 2/18/2009 9:18 AM >>>

I'm sorry Carol, I believed I handed you a copy. I recall your quoting the amount of people who
signed up as 38. But perhaps J am mistaken. Here is an attached copy for your records.

Also, I recall us discussing my taking note of the contents of each folder as I redo the folder
system. I mentioned how some of the information was submitted last year but the content was
actually from 2004 or 2007. I asked how you would like for me to summarize this, because I am
not exactly sure how you would like for that to be summarized.

Then we began to look at the structure and I mentioned that it would probably be ideal for me to
review the contents of the folder and just let you know what's in them which is what I was doing
in November when you requested I not make any changes-before we got busy and focused on
department contact persons and chairs and the Powerpoint, and FOT, etc... So far I have been
reading the plans in search of tool, data, and plans because some of them appear to be fused
together and/or indistinguishable.

Datfiiellé

>>> Carol Scheidenhelm 2/17/2009 4:54 PM >>>
Damielle--here is a summary of the meeting we had on Monday (from memory, as you did not
leave the meeting agenda).

I. Articles: [ suggested that the listing we have is sufficient. We will have to check them out and
decide which should go onto the website and whether we need any new categories.

I]. CLA testing: we agreed to use the same registration/roster as listed on the N drive under
Lumina> Spring 2009. As you no doubt noticed, I cleaned up the Lumina folder significantly,
sliding files into the provided folders; there were redundant copies of files from 2005 and 2006
that I cleaned up and organized. Much of this structure was inherited but now we have clear
folders where files for each testing phase can be placed. Again, only the testing schedule inside
the Spring 2009 folder should be considered the authoritative file. I did not delete your other
spreadsheet; it is the only file now outside the dated folders.

HI. Seif and Peer Assessment: I will look over the file you created and provide feedback at our
meeting next Monday. Once Sarah and Terry have their chance for comments, then we can, as
you suggested, put in screen captures. This seems a logical way to proceed.

 

 
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>>The summaries of the assessment data from N can proceed even before we finalize the
assessment content. You need to record the information from the most recent report, as discussed
in our Feb. 3 meeting. The abstracts should include: (1) method of assessment (2) date of plan
(3) summary of most recent results (4) any statement of how they are using those results (if
available). <<

Carol

>>> Danielle Holt 2/18/2009 9:18 AM >>>

I'm sorry Carol, I believed I handed you a copy. I recall your quoting the amount of people who
signed up as 38. But perhaps I am mistaken. Here is an attached copy for your records.

Also, I recall us discussing my taking note of the contents of each folder as I redo the folder
system. I mentioned how some of the information was submitted last year but the content was.
actually from 2004 or 2007. I asked how you would like for me to summarize this, because | am
not exactly sure how you would like for that to be summarized.

 

Then we began to took at the structure and I mentioned that it would probably be ideal for me to
review the contents of the folder and just let you know what's in them which is what I was doing
in November when you requested I not make any changes-before we got busy and focused on
department contact persons and chairs and the Powerpoint, and FOT, etc... So far I have been
reading the plans in search of tool, data, and plans because some of them appear to be fused
together and/or indistinguishable.

Défiiellé

>>> Carol Scheidenhelm 2/17/2009 4:54 PM >>>
Danielle--here is a summary of the meeting we had on Monday (from memory, as you did not
leave the meeting agenda).

I. Articles: I suggested that the listing we have is sufficient. We will have to check them out and
decide which should go onto the website and whether we need any new categories.

II. CLA testing: we agreed to use the same registration/roster as listed on the N drive under
Lumina> Spring 2009. As you no doubt noticed, I cleaned up the Lumina folder significantly,
sliding files into the provided folders; there were redundant copies of files from 2005 and 2006
that I cleaned up and organized. Much of this structure was inherited but now we have clear
folders where files for each testing phase can be placed. Again, only the testing schedule inside
the Spring 2009 folder should be considered the authoritative file. I did not delete-your other
spreadsheet; it is the only file now outside the dated folders.

Hil. Self and Peer Assessment: I will look over the file you created and provide feedback at our
meeting next Monday. Once Sarah and Terry have their chance for comments, then we can, as
you suggested, put in screen captures. This seems a logical way to proceed.

 
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--- On Wed, 2/18/09, Danielle Holt <dholt2@luc.edu> wrote:

From: Danielle Holt <dholt2@luc.edu>
Subject: Fwd: Re: Lumina

To: don9495@yahoo.com

Date: Wednesday, February 18, 2009, 1:40 PM

>>> Carol Scheidenhelm 2/13/2009 4:56 PM >>>

Danielle--before I left last evening, I added the names (to date) to the spreadsheet, made several
cosmetic changes that would enhance the use, made the redundant sheet and deleted the names of
those who had already registered. I needed to do this in order to send the second reminder, which
did go out.

When I went into the spreadsheet after the meeting with Sarah and Terry, I found that you had
overridden the spreadsheet with the copy you made, effectively wiping out all my enhancements.
I requested that you add the updates to the correct spreadsheet but you overwrote it instead.

We are definitely not communicating on this process, Danielle. Please let me know what I can do
to help you understand what is needed. I have thought my emails were clear, This testing is too
important to allow errors in recording; and students do not want to be contacted about signing up
if they are already signed up. On Monday, please check the Not Registered sheet again, as there
is at least one name of a registered student that still appears.

Carol

>>> Danielle Holt 2/13/2009 11:03 AM >>>
I figured it might be a good idea to attach and link the file

N:\Learning Tech and Assessment\Lumina\testing_roster.xls

>>> Danielle Holt 2/13/2009 10:32 AM >>>
Hi Carol,

Apologies for your not being able to view the sheet, I leave it open all day in case someone
registers. This way I can insert them quickly. according to my screen shot everyone I sent an e-
mail to is on the sheet, and my last insertion was around 11:00 a.m. yesterday.

I take screen shots so I have a visual record of my activity. This is primarily so I can keep track
of where I left off, in the event I am working on a different assignment. But would be happy to
provide you with a copy if you'd like.

 

 
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I recall your telling me that when one of us has the sheet open the other can only view it as a read
only, but perhaps I am mistaken. It is the last file I close at the end of the day and the first that I
open at the beginning of the day.

Also I took great care to insert the sheet as you requested and it has been in place since we last
spoke on Monday. The copy that I leave open throughout the day and the one I have been
editing is the one that is in the Lumina folder titled "testing roster". Again, apologies if you
were only able to view the read-only copy yesterday.

>>> Carol Scheidenhelm 2/12/2009 5:59 PM >>>

Danielte--I requested on Monday that you carefully check the Lumina registrations and keep the
spreadsheet on the N drive updated. I also requested that you copy the sheet of participants to
another sheet (a redundant copy) and then remove the students from the second sheet who have
already registered. This, as 1 explained, would allow me to simply select all the emails on the
“unregistered” sheet and send registration reminders only to those who had not registered as yet.
I explained I wanted to send the emai! on Thursday.

When I got back to my office after a full day of meetings (about 4:15), I noticed that the
redundant page had not been created and several (three) students who registered and were sent
confirmations were not listed in the spreadsheet we share on the N drive. I have gone ahead and
added the students to the spreadsheet on the appropriate dates and also created the redundant
sheet so 1 could send the reminder email today as planned.

I am not sure why you did not complete this request, but am disappointed that the work was not
done when we agreed it needed to be completed. Also, I have explained several times the
importance of this test and how we can only take 24 at a seating, so the spreadsheet MUST be
updated and accurate.

I sent the reminder this evening so we may have requests tomorrow. Please be certain to
carefully follow the protocol we have established for this registration.

Carol

 

 
 

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— On Tue, 2/2499, IT HELPDESK <HELP,

 

From: IT HELPDESK. “HELPDESK @iluc.edu>
Subject: Ticket Information
To: angelM49S5@yahoo.com

Hello Danizlle,
. The ticket number for your request 137728. I hope they are able to help you.

Arci

IT HELPDESK
773.508.7190

 

http://us.me1133.mail.yahoo,com/m wel. e?. ox=] = =

 
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(Sma | | , Danielle Holt <dholt.csu@gmail.com>

byl wougle

 

Verification from Carol herself that she was at my
desk and on my computer Fwd: Re: logged in to your
machines

Danielie Holt <dholt.csu@gmail.com> Fri, Nov 6, 2009 at 12:22 PM
To: amy. burkhoider@eeoc.gov

 

 

 

Forwarded message
From: Danielle Holt <don9495 heo.com>
Date: Thu, Nov 5, 2009 at 5:55 PM

Subject: Fwd: Re: logged in to your machines
To: dholt.csu@qmail.com

True Change is empowered by three entittes... The Creator... The Educator... The Legislator
—— On Thu, 7/19/09, DanleBe Holt <ghofitiwiuc. edu> wrote:

From: Danielle Holt <dhelt2@luc.edu>
Subject: Fwd: Re: logged in to your machines
To: don?495@yahou com

Date: Thursday, February 19, 2009, 2:18 PM

--—--—— Forwarded message
From: “Danielle Holt" <dholt2 @luc.edu>
To: "Joan Stasiak" <JSTASIA@luc.edu>
Date: Thu, 19 Feb 2009 16:13:32 -0600
Subject: Fwd: Re: logged in to your machines

 

----—— Forwarded message
From: "Danielle Holt" <dholt2@luc.edu>

To: "Carol Scheidenhelm" <Cschei1 @luc.edu>,"Terry Moy” <TMOY1@luc.edu>
Date: Tue, 10 Feb 2008 08:54:11 -0600

Subject: Re: logged in to your machines

No Problem Carol. Was everything ok?

 

Dafiiellé

>>> Caro] Scheidenhelm 2/9/2009 6:51 PM >>>

Terry and Danielle--I needed to log in to your computers to check some settings so you will see my login id
today,

 

 
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Carol

 

 

 
